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                                              #:2589
                                Department of the Treasury - Internal Revenue Service                       Schedule number or
  Form   886-A                                                                                              exhibit
     (May 2017)                   Explanation of Items
Name of taxpayer                                                Tax Identification Number (last 4 digits)   Year/Period ended




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      2020 - Form 6251 - Alternative Minimum Tax Computation




                      28%             $ 3,958




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                                                 #:2593




    Name of Taxpayer:
    Identification Number:




                             - Schedule EIC - Computation of Earned Income Credit

 1. Investment income (if amount is greater than            , no credit is allowed)
 2. Wages, salaries, tips, etc.
 3. Taxable scholarship or fellowship grant
 4. Amount paid to an inmate in a penal institution
 5. Pension or annuity from nonqualified plan or 457 plan
 6. Amount of any nontaxable combat pay received
 7. Line 2 plus line 6 less the sum of lines 3, 4, and 5
 8. Net profit or loss from self-employment less deductible part of SE tax
 9. Earned income (sum of lines 7 and 8)
10. Credit allowed using the amount on line 9
11. Adjusted gross income
12. Credit allowed using the amount on line 11 (if applicable)
13. Earned income credit (smaller of lines 10 and 12, if applicable or zero
    if line 1 is greater than the yearly investment income limitation amount)
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       2021 - Form 6251 - Alternative Minimum Tax Computation




                       28%             $ 3,998




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                                   #:2598
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                                        #:2599




       2022 - Form 6251 - Alternative Minimum Tax Computation




                       28%             $ 4,122




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                                   #:2601
Case 2:24-cr-00091-ODW   Document 205-4 Filed 01/01/25   Page 16 of 19 Page ID
                                   #:2602
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                                            #:2603



Name of Taxpayer:
Identification Number:

                              -


   Total qualified business income
   Qualified business net loss carryforward from prior year
   Total qualified business income before         . Combine lines 1 and 2.
       ero or less, enter -0-
   Qualified business income component. Multiply line 3 by 20%
   Qualified REIT and PTP income
   Qualified REIT and PTP              carryforward from prior year
   Total qualified REIT and PTP income before           .
   If zero or less, ente
              REIT and PTP component. Multiply line 7 by 20%
   Qualified business income deduction before income limitation.
   Add lines 4 and 8
   Taxable income before qualified business income deduction
   Net capital gain
   Subtract line 11 from line 10. If zero or less, enter -0-
   Income limitation. Multiply line 12 by 20%
   Qualified business income deduction. Enter smaller of line or line 13
   DPAD under section 199A(g) allocated from an agricultural or horticultural
   cooperative
   Total qualified business income deduction. Add lines 14 and 15.
   If zero or less, enter -0-




  Taxable income over threshold - recalculate as net adjustment or use net component adjustment
    Married filing jointly:
    Married filing separately:
    All others:
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                                                  #:2605
                                     Department of the Treasury - Internal Revenue Service                      Schedule number or
Form 886-A                                                                                                      exhibit
  (May 2017)                           Explanation of Items
Name of taxpayer                                                    Tax Identification Number (last 4 digits)   Year/Period ended

Alexander Smirnov                                                   5785                                        2020 2021 2022


Statutory-SE AGI Adjustment

                        Tax Period              Per Return                    Per Exam               Adjustment
                             2020                 $567.00                         $0.00                 $567.00
                             2022                $1,641.00                        $0.00               $1,641.00

Your self-employment tax has changed as a result of adjustments made to your net earnings from self-employment
as shown in this report. The self-employment tax deduction has been adjusted to one-half of the recomputed
amount.


Statutory-Earned Income Credit

                        Tax Period              Per Return                    Per Exam               Adjustment
                             2020                 $538.00                         $0.00               ($538.00)
                             2021                   $19.00                        $0.00                ($19.00)

Because we changed your adjusted gross income and/or your earnings and those changes affected your modified
adjusted gross income or earned income, we have also adjusted your earned income credit.


Statutory-Self Employment Tax

                        Tax Period              Per Return                    Per Exam               Adjustment
                             2020                $1,133.00                        $0.00              ($1,133.00)
                             2022                $3,282.00                        $0.00              ($3,282.00)

We have adjusted your self-employment tax due to a change in your net earnings from self-employment.




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